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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 19-22284-CV-SCOLA/TORRES



  STEVEN MARKOS,

               Plaintiff,

  v.

  YACHT CHARTERS OF MIAMI.COM, LLC,


              Defendant.
  _____________________________________/

                   REPORT AND RECOMMENDATION ON
               PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

        This matter is before the Court on a Motion for Default Judgment filed by

  Plaintiff STEVEN MARKOS (“Plaintiff” or “Markos”) on August 27, 2019. [D.E. 12].

  The Honorable Judge Robert N. Scola referred the Motion to the undersigned on

  September 6, 2019 [D.E. 13], and Defendant’s non-appearance and failure to respond

  in opposition makes the Motion ripe for disposition. Following our review of the

  briefing materials, the evidence of record and the relevant legal authorities governing

  the dispute, we hereby RECOMMEND the Motion be GRANTED in part and

  DENIED in part.

                                 I.    BACKGROUND

        On June 4, 2019, Plaintiff initiated this action under the Copyright Act,

  claiming that Defendant unlawfully and without permission used one of his

  photographs on its website. [D.E. 1]. Plaintiff listed the photograph, dubbed
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  “Biscayne-070,” with the Register of Copyrights on November 3, 2016, Registration

  No. VA 2-022-927. Id. at ¶ 12. Plaintiff claims that Defendant copied the photograph

  without license to do so and then used displayed it prominently on the company

  website. Id. at ¶ 18. The Complaint alleges two causes of action against Yacht

  Charters: the first for copyright infringement (Count I) and the second for “removal

  of copyright management information” (Count II).

        The Clerk of Court issued summons on the same day Plaintiff filed his

  Complaint [D.E. 4]. Plaintiff served Defendant’s registered agent with a copy of the

  summons and the Complaint on June 25. [D.E. 8]. Yacht Charters then failed to

  appear and answer the Complaint or otherwise respond to the allegations contained

  therein, despite being required to do so under the Federal Rules of Civil Procedure.

  Accordingly, Plaintiff sought a Clerk’s Entry of Default on August 6, 2019, and the

  Clerk obliged, entering that default the next day. [D.E. 10]. A week later Plaintiff

  moved for default judgment under Rule 55 of the Federal Rules of Civil Procedure,

  and that Motion is now before this Court.

                               II.    LEGAL STANDARD

        A party seeking default judgment must follow a two-step process to obtain such

  relief. First, the clerk of court must enter a clerk’s default if and when a defendant

  fails to defend a lawsuit filed against it. Fed. R. Civ. P. 55(a); see also City of New

  York v. Mickalis Pawn Shop, 645 F.3d 114, 128 (2d Cir. 2011) (“The first step, entry

  of a default, formalizes a judicial recognition that a defendant has, through its failure

  to defend the action, admitted liability to the plaintiff.”). Armed with the clerk’s entry




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  of default, a plaintiff must then seek default judgment pursuant to Fed. R. Civ. P.

  55(b), which may be entered against any non-answering party so long as the

  defendant is not an infant or incompetent person. See Fed. R. Civ. P. 55(b)(2).

        “The effect of a default judgment is that the defendant admits the plaintiff’s

  well-pleaded allegations of fact, is concluded on those facts by the judgment, and is

  barred from contesting on appeal the facts thus established.” Buchanan v. Bowman,

  820 F.2d 359, 361 (11th Cir. 1987) (quoting Nishimatsu Construction Co., Ltd. v.

  Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)). A court must still, however,

  review the sufficiency of the allegations contained within the complaint to determine

  if default judgment is appropriate. See Nishimatsu, 515 F.2d at 1206. “While a

  complaint…does not need detailed factual allegations,” a plaintiff’s obligation to

  provide the grounds of his entitlement to relief “requires more than labels and

  conclusions.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (“[A] formulaic

  recitation of the elements of a cause of action will not do.”).

                                     III.   ANALYSIS

        A.     Liability

        To establish his claim for copyright infringement, Plaintiff must show (1) that

  he own a valid copyright in the photograph, and (2) that Defendant copied original

  elements of those photographs. Leigh v. Warner Bros., Inc., 212 F.3d 1210, 1214 (11th

  Cir. 2000). Plaintiff successfully pled these factors, alleging that he registered the

  photograph at issue with the Register of Copyrights on November 3, 2016, and that

  Defendant subsequently used this photograph on Yacht Charters’ website without




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  license or permission to do so. Thus, he is entitled to default judgment on his

  copyright infringement claim. 1

        B.      Damages

        If the admitted facts are sufficient to establish liability, the Court must then

  determine the appropriate amount of damages and enter final judgment in that

  amount. See Nishimatsu, 515 F.2d at 1206; PetMed Express, Inc. v. MedPets.com, Inc.,

  336 F. Supp. 2d 1213, 1216 (S.D. Fla. 2004). Damages may only be awarded if the

  record adequately reflects the basis of the award, which can be shown by the moving

  party’s submission of detailed affidavits establishing the facts necessary to support

  the damages requested. Adolph Coors Co. v. Movement Against Racism and the Klan,

  777 F.2d 1538, 1544 (11th Cir. 1985). An evidentiary hearing on the amount of

  damages is not required under Rule 55, and a Court may choose whether or not to

  hold such a hearing. See SEC v. Smyth, 420 F.3d 1225, 1232 n.13 (11th Cir. 2005);

  Tara Productions, Inc. v. Hollywood Gadgets, Inc., 449 F. App’x 908, 911-12 (11th Cir.

  2011). In light of the record evidence before us, we see no need to hold a hearing on

  damages, resolving the matter entirely on the papers.

        The Copyright Act states:

        (a) In general. Except as otherwise provided by this title, an infringer
        of copyright is liable for either –

             (1) the copyright owner’s actual damages and any additional profits
             of the infringer, as provided by subsection (b); or

             (2) statutory damages, as provided by subsection (c).

  1      Plaintiff’s Motion omits any mention of his intent to obtain default judgment
  on Count II – his claim for “removal of copyright management information” – and so
  will deny the Motion for this claim.


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  17 U.S.C. § 504. Many courts have found statutory damages to be “especially

  appropriate” in default judgment cases, as measuring a party’s actual damages can

  be difficult in light of Defendant’s failure to appear. UMG Recordings, Inc. v. Roque,

  2008 WL 2844022, at *2 (S.D. Fla. July 23, 2008) (“Indeed, because Plaintiffs would

  have difficulty submitting evidence of actual damages due to Defendant's failure to

  defend the action, statutory damages offer the Court discretion to enter judgment in

  spite of the lack of such evidence.”); see also PetMed Express, 336 F. Supp. 2d at 1220;

  Microsoft Corp. v. McGree, 490 F. Supp. 2d 874, 882 (S.D. Ohio 2007) (collecting

  cases). We agree, and find statutory damages to be more appropriate here.

        With regard to such damages, the relevant provision of the Copyright Act

  provides:

        (c) Statutory Damages

              (1) Except as provided by clause (2) of this subsection, the copyright
              owner may elect, at any time before final judgment is rendered, to
              recover, instead of actual damages and profits, an award of statutory
              damages for all infringements involved in the action, with respect to
              any one work, for which any one infringer is liable individually, or for
              which any two or more infringers are liable jointly and severally, in a
              sum of not less than $750 or more than $30,000 as the court considers
              just. For the purposes of this subsection, all the parts of a compilation
              or derivative work constitute one work.

              (2) In a case where the copyright owner sustains the burden of
              proving, and the court finds, that infringement was committed
              willfully, the court in its discretion may increase the award of
              statutory damages to a sum of not more than $150,000. […]

  17 U.S.C. § 504(c). Based on these provisions, Plaintiff asks that he be awarded

  $36,000.00 in statutory damages.



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        Marko’s process for arriving at such a figure is convoluted and overly

  complicated, but we will do our best to explain. First, he argues that his actual

  damages are $7,200.00; he bases this amount on the fact that we would have charged

  Defendant $600.00 in the form of a licensing fee in order for it to obtain permission

  to use the photograph on the website. He multiplied this $600 amount by a “scarcity

  multiplier of 3.” [D.E. 12, p. 11]. He then multiplies that corresponding figure –

  $1,800.00 – by a “quality of factor of 4,” to arrive at a total amount of $7,200.00 in

  actual damages. Id. Undeterred, he once again multiplies that $7,200.00 figure by a

  “five times willful multiplier,” id. at 14, arriving at the $36,000.00 figure by utilizing

  what can be generously described as a “triple-multiplier method.”

        We find this request to be excessive and therefore reject it. “Statutory damages

  are ‘not intended to provide a plaintiff with a windfall recovery; they should bear

  some relationship to the actual damages suffered.’” Hawaiiweb, Inc. v. Experience

  Hawaii, Inc., 2017 WL 382617, at *7 (N.D. Ga. Jan. 27, 2017) (quoting Clever Covers,

  Inc. v. Sw. Florida Storm Def., LLC, 554 F. Supp. 2d 1303, 1312 (M.D. Fla. 2008)). In

  our view, Plaintiff’s supporting evidence to request these damages is quite tenuous –

  at best. Such a request is excessive in light of the fact that the entirety of the

  Complaint effectively accuses Defendant of a single instance of copyright

  infringement, yet Plaintiff’s total award would allow him to recover damages sixty

  times greater than the subject licensing fee. See Schwabel v. HPT Service, LLC, 2018

  WL 4782328, at *4 (M.D. Fla. Sept. 6, 2018) (rejecting, on motion for default

  judgment, plaintiff’s request for statutory award that was fifteen times greater than




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  the subject licensing fee); see also Hawaiiweb, Inc., 2017 WL 382617, at *7 (rejecting

  statutory damage request of $50,000.00 on motion for default judgment as excessive).

        We will exercise our discretion under the statute and reduce the amount of

  statutory damages. The evidence certainly establishes that Defendant “saved”

  $600.00 per year by refusing to pay Plaintiff’s licensing fee, and that it did so for a

  one-year period. See D.E. 1-3 (letter sent to Defendant in March of 2019 informed

  Yacht Charter its display of Plaintiff’s photograph without permission constituted

  infringement). Since we cannot award “less than $750.00” in statutory damages

  pursuant to 17 U.S.C. § 504(c)(1), we will proceed as if this figure served as the “lost”

  licensing fee Plaintiff would have received if Defendant sought permission to use the

  photograph, with a “three times multiplier” being applied for Defendant’s willful

  violation. See 17 U.S.C. § 504(c)(2); Schwabel, 2018 WL 4782328, at *4 (awarding

  three times the amount of licensing fee as statutory damages on willful infringement

  claim); Universal Music Corp. v. Latitude 360 Nevada, Inc., 2016 WL 3200087, at *4

  (M.D. Fla. May 4, 2016) (statutory damages award consisted of licensing fee at three

  times multiplier). This, in our view, is far more reasonable under the circumstances.

        Accordingly, we find that Plaintiff should be entitled to an award of $2,250.00

  in statutory damages, which amounts to three times fee Defendant “saved” by not

  seeking Plaintiff’s permission to display the photograph on its website. See Universal,

  2016 WL 3200087, at *4.




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        C.     Request for Injunctive Relief

        The Copyright Act also gives a court authority to grant injunctive relief to

  prevent further violations of Plaintiff’s copyrighted material. See 17 U.S.C. § 502;

  Pacific & Southern Co. v. Duncan, 744 F.2d 1490, 1499 n.17 (11th Cir. 1984). A party

  seeking such an injunction must satisfy the four-factor test for obtaining a permanent

  injunction and show: (1) he suffered an irreparable injury; (2) the legal remedies are

  inadequate to compensate for his injury; (3) the balance of the hardships between the

  plaintiff and the defendant weighs in the plaintiff’s favor; and (4) the permanent

  injunction serves the public interest. Warren Pub., Inc. v. Microdos Data Corp., 115

  F.3d 1509, 1516 (11th Cir. 1997); see also Sony Music Entertainment, Inc. v. Global

  Arts Prod., 45 F. Supp. 2d 1345, 1347-48 (S.D. Fla. 1999) (“Injunctive relief is a

  traditional remedy for copyright infringement[.]”).

        Defendant admits the well-pled facts, including that it committed willful

  infringement. As such, we find that injunctive relief is appropriate and should be

  entered in order to keep Defendant from continuing to engage in its infringing

  activity. See e.g. Arista Recordings, Inc. v. Beker Ent., Inc., 298 F. Supp. 2d 1310, 1314

  (S.D. Fla. 2003) (“Injunctions are regularly issued pursuant to the mandate of Section

  502 [of the Copyright Act] because the public interest is the interest in upholding

  copyright protection.”) (quotation and citation omitted); Sony Music, 45 F. Supp. 2d

  at 1347-48 (entering permanent injunction against copyright infringement on default

  judgment). We therefore recommend entry of an Order enjoining Defendant from




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  continuing to infringe on Marko’s rights through the unlicensed use of the

  copyrighted photograph.

        D.     Attorney’s Fees and Costs

        Finally, we recommend that Plaintiff be awarded attorney’s fees and costs. The

  Copyright Act expressly provides that a court may, in its discretion, “allow the

  recovery of full costs by or against any party…[and] may also award a reasonable

  attorney’s fee to the prevailing party as part of the costs.” 17 U.S.C. § 505. As the

  prevailing party, we may recommend an award of both fees and costs so long as such

  an award is reasonable. See Cable/Home Communication Corp. v. Network

  Productions, Inc., 902 F.2d 829, 853 (11th Cir. 1990).

                                 1.     Attorney’s Fees

        Here, Plaintiff asks for $3,105.00 in attorney’s fees, which is what his attorneys

  billed to the file during the course of the litigation. When assessing whether such a

  fee is reasonable, we must employ the familiar “lodestar” method. See Norman v.

  Housing Auth. of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988). Under

  this analysis, a reasonable fee is determined by multiplying the number of reasonable

  hours expended on the litigation by the customary fee charged in the community for

  similar legal services. Ass’n of Disabled Americans v. Neptune Designs, Inc., 469 F.3d

  1357, 1359 (11th Cir. 2006). The fee applicant ultimately bears the burden of

  supplying the court with specific and detailed evidence from which it may determine

  a reasonable fee, but a court may also rely on its own knowledge and experience to

  determine a proper fee amount. Norman, 836 F.2d at 1303.



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          Plaintiff asks that the fee award be based on the following: (1) 4.2 hours of

   work performed by associate attorney Craig Wirth, at a rate of $325.00 per hour; and

   (2) 8.0 hours of work performed by paralegal Jamie James at a rate of $200.00 per

   hour. We find the hours expended to be reasonable and supported by the evidence

   before us, but will reduce the paralegal’s fee to $100.00 per hour, which we believe is

   a more appropriate figure for the type of work she undertook in this case.

          Additionally, we will not include as part of the fee award any work performed

   by Joel B. Rothman, who bills at a rate of $425.00 per hour. There appears to be a

   discrepancy in the affidavit submitted in support of the fee request, which indicates

   that Mr. Rothman “expended 0 hours on this matter.” [See D.E. 12-2, ¶ 8]. Despite

   such an assertion, work on the file is included in the billing records submitted in

   support of the request for fees. Id. The work performed does not appear to be

   necessary in light of the relief obtained, and even if it was, we would deny the request

   because we find that Mr. Rothman merely engaged in clerical tasks, which cannot be

   recovered. [D.E. 12-2, pp. 4-5 (billing records show Mr. Rothman engaging in “review”

   of judicial assignment and clerk’s entry of default)]; see also James v. Wash Depot

   Holdings, Inc., 489 F. Supp. 2d 1341, 1353 (S.D. Fla. 2007) (reducing fee award for,

   among other things, “Plaintiff’s billing for clerical work at senior attorney and partner

   rates.”).

          In accordance with these findings, we recommend that Plaintiff be awarded

   $2,165.00 in attorney’s fees.




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                                         2.    Costs

         Finally, we find that Plaintiff is entitled to an award of costs. A prevailing

   party in a copyright infringement may recover those costs listed in 28 U.S.C. § 1920.

   See Artisan Contractors Ass’n of Am., Inc. v. Frontier Ins. Co., 275 F.3d 1038, 1039

   (11th Cir. 2001). The statute allows for the recovery of the following:

         (1) Fees of the clerk and marshal;

         (2) Fees for printed or electronically recorded transcripts necessarily
         obtained for use in the case;

         (3) Fees and disbursements for printing and witnesses;

         (4) Fees for exemplification and the costs of making copies or any
         materials where the copies are necessarily obtained for use in the case;

         (5) Docket fees under § 1923 of this title;

         (6) Compensation of court appointed experts, compensation of
         interpreters, and salaries, fees, expenses and costs of special
         interpretation services under § 1828 of this title.

   28 U.S.C. § 1920.

         Plaintiff’s requested cost award totals $453.00, which is inclusive of filing fees

   to the court ($400.00) and $53.70 in service charges. As both are recoverable under

   Section 1920, Plaintiff is entitled to the full amount included in his request.

                                   IV.    CONCLUSION

         In light of the foregoing, we hereby RECOMMEND the following:

         1.     Plaintiff’s Motion be GRANTED in part and DENIED in part;

         2.     Plaintiff be awarded $2,250.00 in statutory damages as provided by 17

   U.S.C. § 504(c); and




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         3.     Plaintiff be allowed to recover $2,165.00 in attorney’s fees and $453.70

   in costs pursuant to 17 U.S.C. § 505.

         Pursuant to Local Magistrate Rule 4(b) and Fed. R. Civ. P. 73, the parties have

   fourteen (14) days from service of this Report and Recommendation within which to

   file written objections, if any, with the Honorable Judge Robert N. Scola. Failure to

   timely file objections shall bar the parties from de novo determination by the District

   Judge of any factual or legal issue covered in the Report and shall bar the parties

   from challenging on appeal the District Judge’s Order based on any unobjected-to

   factual or legal conclusions included in the Report. 28 U.S.C. § 636(b)(1); 11th Cir.

   Rule 3-1; see, e.g., Patton v. Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017); Cooley

   v. Commissioner of Social Security, 2016 WL 7321208 (11th Cir. Dec. 16, 2016).

         DONE AND SUBMITTED in Chambers at Miami, Florida this 2nd day of

   October, 2019.

                                                  /s/ Edwin G. Torres
                                                  EDWIN G. TORRES
                                                  United States Magistrate Judge




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